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“FILED
UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
FORT MYERS DIVISION 16 AUG 16 PH 2:1]
C TK UES FIs TeteT we
WILBER RAMIREZ, on behalf of himself MIDDLE Bis Telee ae SL RIDA
and others similarly situated, FT. MYERS, FLORIBA

Plaintiff,
v. CASE NO.:
HB MARBLE & GRANITE, LLC, a i Ile-tv-(4 38-ft hW-F Cc
Florida Limited Liability Company and M
VALDINEI DESOUZA, Individually,

Defendants.

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COMPLAINT AND DEMAND FOR JURY TRIAL
Plaintiff, WILBER RAMIREZ (“Plaintiff’), on behalf of himself and other
employees and former employees similarly situated, by and through undersigned counsel,
files this Complaint against Defendant, HB MARBLE & GRANITE, LLC, a Florida
limited liability company, and Defendant, VALDINEI DESOUZA, an individual

(collectively “Defendants’’), and state as follows:

INTRODUCTION
L. This is an action for failure to pay overtime wages pursuant to 29 U.S.C. §
216(b) and 29 U.S.C. § 207(a).
2. Section 7(a) of the FLSA requires payment of time-and-one-half an

employee’s regular hourly rate whenever a covered employee works in excess of forty
(40) hours per work week. 29 U.S.C, § 207(a).

Bi Defendants violated the FLSA by paying Plaintiff and those similarly

situated the same hourly rate for all hours worked, irrespective of whether those hours
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were overtime hours or not.
JURISDICTION

4. Jurisdiction in this Court is proper as the claims are brought pursuant to
the Fair Labor Standards Act, as amended (29 U.S.C. § 201, et seq., hereinafter called the
“FLSA”) to: (i) obtain certification of this action as a collective action; (11) recover
unpaid back wages; (iii) recover an additional equal amount as liquidated damages for
himself and those who opt-in to this action, and (iv) reasonable attorneys’ fees and costs.

5. The jurisdiction of the Court over this controversy is proper pursuant to 28
U.S.C. §1331, as Plaintiff's claims arise under 29 U.S.C. §216(b).

6. Venue is proper as the acts and omissions giving rise to Plaintiff's claims
occurred in Lee County, Florida

PARTIES

dis At all times material to this action, Plaintiff was a resident of Lee County,
Florida.

8. At all times material to this action, Defendant HB MARBLE &
GRANITE, LLC, was, and continues to be a Florida Limited Liability Company, with its
principal place of business in Lee County, Florida. HB MARBLE & GRANITE, LLC,
can be served with process upon its registered agent, Valdinei, DeSouza, at 11034
Longwing Drive, Fort Myers, Florida 33912.

9. At all times material to this action, Defendant, VALDINEI DESOUZA,
was an individual resident of the State of Florida, who owned and operated Defendant,
HB MARBLE & GRANITE, LLC, and who regularly exercised the authority to (a) hire

and fire employees of Defendant, HB MARBLE & GRANITE, LLC; (b) determine the
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work schedules for the employees of Defendant, HB MARBLE & GRANITE, LLC; and
(c) control the finances and operations of Defendant, HB MARBLE & GRANITE, LLC.
VALDINEI DESOUZA can be served with process at can be served with process at
11034 Longwing Drive, Fort Myers, Florida 33912.

10. By virtue of having regularly held and/or exercised the authority to: (a)
hire and fire employees of HB MARBLE & GRANITE, LLC; (b) determine the work
schedules for the employees of HB MARBLE & GRANITE, LLC; and (c) control the
finances and operations of HB MARBLE & GRANITE, LLC, VALDINE] DESOUZA is
an employer as defined by 29 U.S.C. 201 et. seq.

11. At all times material to this action, Plaintiff was “engaged in commerce”
within the meaning of §6 and §7 of the FLSA.

12. At all times material to this action, Plaintiff was an “employee” of
Defendants within the meaning of the FLSA.

13. At all times material to this action, Defendants were Plaintiffs

“employers” within the meaning of the FLSA.

14. Defendants were, and continue to be, “employers” within the meaning of
the FLSA.

lS. At all times material to this action, Defendant HB MARBLE &
GRANITE, LLC, was, and continues to be an institution primarily engaged in the
production of granite products.

16. At all times material to this action, Defendant, HB MARBLE &
GRANITE, LLC, was, and continues to be, an “enterprise engaged in commerce”.

17. At all times material to this action, Defendants advertised on the internet,

at www.granitecountertopsfortmyers.com, processed credit cards from out of state
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patrons, communicated via mail, email, and telephone with their clients and prospective
clients both domestically and internationally. Further, Defendants source their marble
and granite products from quarries outside the state of Florida, including international
quarries.

18. Based upon information and belief, the annual gross revenue of
Defendants was in excess of $500,000.00 per annum during the relevant time periods.

19, At all times hereto, Plaintiff was “engaged in commerce” and subject to
individual coverage of the FLSA.

20. At all times hereto, Plaintiff was engaged in interstate commerce and
subject to the individual coverage of the FLSA.

21. Further, Defendant(s) had two or more employees who regularly handle
Defendant(s)’ products and equipment, including building and installation supplies,
marble and granite, cleaning supplies, design material, and other equipment, which had
previously moved through interstate commerce, during performance of their duties

22. At all times material hereto, the work performed by the Plaintiff was

directly essential to the business performed by Defendant.

 

STATEMENT OF FACTS
23. Plaintiff worked for Defendants as a laborer from approximately March
2014 to January 2016.
24. Plaintiff's job duties included, but were not limited to, cleaning, sanding,

and buffing the material to be installed by Defendants, such as granite and marble
countertops.

25. Plaintiff was compensated on an hourly basis.
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26. Plaintiff was a non-exempt employee for Defendants.

aT At various material times hereto, Plaintiff worked for Defendants in
excess of forty (40) hours within a workweek.

28. From at least March 2014, and continuing through January 2016,
Defendants failed to compensate Plaintiff at a rate of one and one-half times Plaintiff's
regular rate for all hours worked in excess of forty (40) hours in a single workweek.
Rather, Defendants paid Plaintiff only his regular rate for hours over forty. Stated
differently, Defendants paid “straight-time” for all hours that Plaintiff worked in excess
of forty in a workweek.

29. The practice described above was equally applicable to other hourly paid
employees of Defendants at the location at which Plaintiff worked.

30. Plaintiff, and those similarly situated, should be compensated at the rate of
one and one-half times their regular rate for all hours that they worked in excess of forty
(40) hours per workweek, as required by the FLSA.

31. Upon information and belief, the majority of Plaintiffs pay and time
records are in the possession of Defendants.

32: Defendants violated Title 29 U.S.C. §207 from at least March 2014
continuing through January 2016, in that:

a. Plaintiff, and those similarly situated, worked in excess of forty (40)
hours in one or more workweeks for the period of employment with
Defendants;

b. No payments or provisions for payment have been made by Defendants

to properly compensate Plaintiff, and those similarly situated, at the
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statutory rate of one and one-half times Plaintiff's regular rate for all
hours worked in excess of forty (40) hours per workweek, as provided
by the FLSA.

c, Defendants failed to maintain proper time records as mandated by the
FLSA.

33. Upon information and belief, Defendants did not rely upon any written
administrative regulation, order, ruling, approval or interpretation of the Department of
Labor Wage and Hour Division in creating Plaintiff's pay structure.

34. Defendants knew or should have known with reasonable diligence that
their conduct violated the Fair Labor Standards Act or was in reckless disregard for its
provisions. As such, Defendants’ violation of the law was willful.

35. Additionally, Defendants’ failure and/or refusal to properly compensate
Plaintiff at the rates and amounts required by the FLSA, was willful. Specifically,
Defendants were aware of the fact that Plaintiff regularly worked in excess of forty hours
in a given work week, as did other similarly situated employees, and paid them for
overtime hours at their regular rate of pay, with no overtime premium.

36. | Defendants failed and/or refused to properly disclose or apprise Plaintiff
of his rights under the FLSA.

37. The additional persons who may become Plaintiffs in this action “worked”
for Defendants as hourly employees in the same location as Plaintiff, and as a result of
the same policy, plan or practice of Defendants pursuant to which Plaintiff was not paid
proper overtime wages, worked in excess of forty (40) hours during one or more

workweeks during the relevant time periods, but did not receive pay at one and one-half
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times their regular rate for all hours worked in excess of forty (40) hours.
38. Plaintiff has retained the law firm of MORGAN & MORGAN, P.A. to

represent Plaintiff in the litigation and has agreed to pay the firm a reasonable fee for its

 

services.
COUNT I
RECOVERY OF OVERTIME COMPENSATION
39. Plaintiff re-alleges and re-avers paragraphs | through 38 of the Complaint

as if fully set forth herein.

40. From at least March 2014 and continuing through January 2016, Plaintiff
worked in excess of the forty (40) hours per week for which Plaintiff was not
compensated at the statutory rate of one and one-half times Plaintiff's regular rate of pay.

Al, Plaintiff was, and is entitled to be paid at the statutory rate of one and one-
half times Plaintiff's regular rate of pay for those hours worked in excess of forty (40)
hours in a workweek.

42. Defendants’ actions were willful and/or showed reckless disregard for the
provisions of the FLSA as evidenced by its failure to compensate Plaintiff at the statutory
rate of one and one-half times Plaintiff's regular rate of pay for the hours worked in
excess of forty (40) hours per week when it knew, or should have known, such was, and
is due,

43. Defendants have failed to properly disclose or apprise Plaintiff of his
rights under the FLSA.

44, Due to the intentional, willful, and unlawful acts of Defendants, Plaintiff,
and those similarly situated, suffered and continue to suffer damages and lost

compensation for time worked over forty (40) hours per week, plus liquidated damages.
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45. Plaintiff is entitled to an award of reasonable attorney’s fees and costs
pursuant to 29 U.S.C. §216(b).

46. Based upon information and belief, the employees and former employees
of Defendants similarly situated to Plaintiff were not paid proper overtime for hours
worked in excess of forty (40) in one or more workweeks because Defendants have failed
to properly pay Plaintiff proper overtime wages at time and one-half of the lawful regular
rate of pay for such hours, pursuant to a policy, plan or decision equally applicable to
similarly situated employees.

WHEREFORE, Plaintiff, on behalf of himself and all other similarly situated,
respectfully requests:

a. A declaration be entered, pursuant to 29 U.S.C. §§2201 and 2202, that
the acts and practices complained of herein are in violation of the
maximum hour provisions of the FLSA;

b. Conditional certification, pursuant to Section 216(b) of the FLSA, of
Defendants’ employees, who prepared, cleaned, sanded, or in any other
way assisted in the production or installation of Defendants’ products in
furtherance of Defendants business, and worked over 40 hours in one or
more workweeks;

G. An Order permitting Notice to all potential class members;

d. Entry of a judgment awarding:

i. Plaintiff overtime compensation in the amount due to him for
Plaintiff's time worked in excess of forty (40) hours per work

week,
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ii. Plaintiffs liquidated damages in an amount equal to the overtime

award,
iii. Plaintiff's reasonable attorney’s fees and costs and expenses of the
litigation pursuant to 29 U.S.C. §216(b);
iv. Awarding Plaintiffs pre-judgment interest; and
e. Any such other and further the Court deems just and proper.
JURY DEMAND
Plaintiff demand trial by jury on all issues so triable as a matter of right by jury.
DATED this 15" day of August, 2016.
Respectfully submitted,
MORGAN & MORGAN, P.A.
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